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                                                                                                    E-FILED
                                                                 Thursday, 02 December, 2021 04:35:17 PM
                                                                              Clerk, U.S. District Court, ILCD
                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )
 v.                                               )      Case No. 1:12-cr-10069-SLD-JEH
                                                  )
 GREGORY SANFORD,                                 )
                                                  )
                Defendant.                        )

                                              ORDER

       Before the Court are Defendant Gregory Sanford’s motion to dismiss, ECF No. 241,

motions to reduce his sentence pursuant to amendment 782 to the United States Sentencing

Guidelines, ECF Nos. 242, 245, and motion for compassionate release, ECF No. 243. For the

reasons that follow, the motions are DENIED.

                                        BACKGROUND

       Defendant and Ricky D. Jackson were charged by indictment with possession with intent

to distribute cocaine. Indictment 1, ECF No. 11. Numerous superseding indictments were

subsequently filed. The fourth, and final, superseding indictment charged Defendant with

conspiracy to possess with intent to distribute cocaine and cocaine base; two counts of

possession with intent to distribute cocaine base; being a felon in possession of a firearm; use,

carrying, and possession of a firearm in furtherance of a drug trafficking crime; and two counts

of possession with intent to distribute cocaine. Fourth Superseding Indictment 1–6, ECF No.

101. United States District Judge James E. Shadid presided over Defendant’s case.

       In December 2013, Defendant requested and was granted the ability to proceed pro se.

Dec. 12, 2013 Min. Entry. Prior to Defendant proceeding pro se, his counsel had filed a motion

to suppress evidence seized from a vehicle in which Defendant was a passenger, Mot. Suppress,

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ECF No. 31, which the court denied, see Sept. 23, 2013 Min. Entry. On the first day of a

scheduled jury trial, Defendant and the Government reached a plea deal. See Apr. 14, 2014 Hr’g

Tr. 5:14–16, ECF No. 147. Defendant agreed to plead guilty to count five of the fourth

superseding indictment—possession with intent to distribute cocaine on February 28, 2012,

Fourth Superseding Indictment 5—in exchange for reservation of his right to appeal the denial of

his motion to suppress and a fifteen-year sentence pursuant to Federal Rule of Criminal

Procedure 11(c)(1)(C). Apr. 14, 2014 Hr’g Tr. 5:19–6:9. After Defendant pleaded guilty, Judge

Shadid referred the matter to United States Probation for a presentence investigation report. Apr.

14, 2014 Min. Entry.

       The presentence investigation report (“PSR”) calculated Defendant’s total offense level

as 34. PSR ¶ 46, ECF No. 130. This was based on drug weight, id. ¶ 36, an enhancement for

possessing a firearm in relation to the offense, id. ¶ 37, an enhancement for maintaining two

premises for the purpose of manufacturing and distributing controlled substances, id. ¶ 38, an

enhancement for being a career offender under § 4B1.1 of the United States Sentencing

Guidelines, id. ¶ 43, and two reductions for acceptance of responsibility, id. ¶¶ 44–45.

Defendant was classified a career offender because of two convictions for unlawful delivery of a

controlled substance in Peoria County in case numbers 00-CF-971 and 00-CF-972. Id. ¶ 43; see

id. ¶¶ 50–51. The PSR calculated Defendant’s criminal history category as VI, id. ¶ 57 (noting

that Defendant’s criminal history category would have been VI even without application of the

career offender guidelines), and, accordingly, his custody range as 262 to 327 months, id. ¶ 86.

There were no objections to the PSR, so Judge Shadid adopted it. See Sentencing Hr’g Tr. 2:11–

18, ECF No. 148. He accepted the parties’ plea agreement and sentenced Defendant to 180

months of imprisonment. See id. at 17:14–17; Judgment 1–2, ECF No. 137.



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       Defendant appealed the denial of the motion to suppress and the conditions of supervised

release that were imposed. United States v. Sanford, 806 F.3d 954, 956 (7th Cir. 2015). The

Seventh Circuit upheld the denial of the motion to suppress, id. at 959, but remanded for the

district court to reconsider the conditions of supervised release, id. at 960–61. Defendant was

resentenced on February 25, 2016 to the same term of imprisonment. See Am. Judgment 1–2,

ECF No. 165.

       Subsequently, Defendant filed a motion to reduce his sentence pursuant to amendment

782 to the Sentencing Guidelines. Mot. Reduce Sentence, ECF No. 174. Amendment 782

reduced the offense levels in the Drug Quantity Table at § 2D1.1(c) of the Guidelines by two.

United States Sentencing Guidelines Supp. App. C., § 782. The court appointed Assistant

Federal Defender George Taseff to represent Defendant with respect to the motion, June 13,

2018 Text Order, but Taseff moved to withdraw, arguing that Defendant’s motion was meritless

as he was ineligible for a reduction because his Sentencing Guidelines range was determined by

the career offender guidelines rather than the Drug Quantity Table, see Mot. Withdraw 1, 4, ECF

No. 176. After giving Defendant an opportunity to explain why amendment 782 applied to his

case, June 28, 2018 Order 2, ECF No. 177, the court denied Defendant’s motion, First Jan. 17,

2019 Text Order.

       In the meantime, Defendant filed a motion to correct his PSR, arguing that the two prior

convictions on which the PSR and court relied to find Defendant a career offender did not count

as two convictions for purposes of the career offender guidelines. Mot. Correct 1–2, ECF No.

185. The court denied the motion, stating that “[u]pon investigation, probation has informed the

court that they have informed . . . [D]efendant to seek his remedy first through the [Bureau of

Prisons (“BOP”)]” and finding that “to the extent the Motion objects to the PSR, it is denied as



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that issue is no longer before the court.” Second Jan. 17, 2019 Text Order. Defendant continued

to file motions regarding this issue, see, e.g., Mot. Plain Error Review, ECF No. 193; Mot. Alter

Amend Judgment, ECF No. 194, but the court denied them, see, e.g., Apr. 9, 2019 Text Order;

Apr. 24, 2019 Text Order.

       Defendant then filed a motion for appointment of counsel regarding the criminal history

points in his PSR. Mot. Appointment Counsel, ECF No. 197. After asking United States

Probation to “look into the matter,” the court noted that it appeared that Defendant’s “criminal

history points would total 13 instead of 16.” Mar. 2, 2020 Entry. Because Defendant’s criminal

history points could “have an effect on his security level,” but the court had been advised that

BOP “could not make a change absent permission to do so[,] . . . . [t]he court approved [United

States Probation] to send [Defendant’s] case manager” an email indicating that his criminal

history points could be changed. Id.

       Defendant then filed another motion to reduce his sentence pursuant to amendment 782.

Second Mot. Reduce Sentence, ECF No. 198. The court denied the motion, explaining that

Defendant was still a career offender and, thus, ineligible for a reduction, and that even if he

were eligible, it would deny the motion because Defendant was sentenced to far less than his

Guidelines custody range pursuant to his plea agreement. Mar. 24, 2020 Text Order (“The Court

would not reduce his sentence as he receives the benefit of his bargain.”).

       Defendant then filed a motion for compassionate release, ECF No. 201, and the court

appointed the Federal Public Defender (“FPD”) to represent Defendant with respect to the

motion, First May 4, 2020 Text Order. In his pro se motion, Defendant had raised two issues:

the PSR errors and the COVID-19 pandemic. Mot. Compassionate Release 1. The court

directed the FPD to file an amended motion addressing only the COVID-19 pandemic,



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explaining that the PSR “matter ha[d] been addressed.” Second May 4, 2020 Text Order. The

FPD did so, Am. Mot. Compassionate Release, ECF No. 209, but the court denied Defendant’s

request for compassionate release, July 14, 2020 Order, ECF No. 221. Defendant appealed. Not.

Appeal, ECF No. 222. While his appeal was pending, Defendant filed suit against Judge Shadid,

who then recused himself from this case. See Aug. 16, 2020 Text Order. It was reassigned to

this Court. Id. On January 25, 2021, the Seventh Circuit affirmed the denial of Defendant’s

compassionate release motion on the basis that he failed to comply with the compassionate

release statute’s exhaustion requirement. United States v. Sanford, 986 F.3d 779, 782 (7th Cir.

2021) (citing 18 U.S.C. § 3582(c)(1)(A)).

       Defendant filed a motion to reconsider before this Court, Mot. Reconsider, ECF No. 232,

but it was unclear what he was asking the Court to reconsider. The Court appointed the FPD to

represent Defendant with respect to the motion, Feb. 8, 2021 Text Order, and the FPD filed a

motion to reconsider Judge Shadid’s order denying Defendant’s motion for compassionate

release, Am. Mot. Reconsider, ECF No. 235. In this motion, Defendant, via counsel, argued that

his Sentencing Guidelines range was incorrect at sentencing because he should not have been

considered a career offender and the error constituted an extraordinary and compelling reason for

release. Am. Mot. Reconsider 2–4. The Court denied the motion because Defendant failed to

establish that he had complied with the exhaustion requirement. Aug. 12, 2021 Text Order.

       Defendant then filed motions that are now before the Court: another motion for reduction

of his sentence pursuant to amendment 782, see Third Mot. Reduce Sentence 1; another motion

for compassionate release, arguing that the error in considering him a career offender constitutes

an extraordinary and compelling reason for release, Second Pro Se Mot. Compassionate Release

1; Req. Warden, Second Pro Se Mot. Compassionate Release Ex. A, ECF No. 243 at 2; and a



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motion to dismiss the fourth superseding indictment, see Mot. Dismiss 1. The Court appointed

the FPD to represent Defendant with respect to these motions. Sept. 20, 2021 Text Order. The

FPD filed a status report regarding the motions on September 21, 2021. Status Report, ECF No.

244. Subsequently, Defendant filed another motion for reduction of his sentence pursuant to

amendment 782. Fourth Mot. Reduce Sentence 1.

                                                 DISCUSSION

    I.       Motion to Dismiss

         In the motion to dismiss, Defendant argues his indictment was ineffective and should be

dismissed. Mot. Dismiss 1. The FPD explains that Defendant’s argument is meritless, see Status

Report 2–3, and in any case, any challenge to the indictment would have needed to be filed in a

pretrial motion, id. at 3 (citing Fed. R. Crim. P. 12(b)(3)(B)). The Court agrees that Defendant’s

motion is meritless 1 and, regardless, filed out of time. See Fed. R. Crim. P. 12(b)(3)(B)(ii)

(providing that an argument that the indictment is defective must be made before trial “if the

basis for the motion is then reasonably available”); United States v. Griffin, 765 F.2d 677, 682

(7th Cir. 1985) (holding that an objection that an indictment improperly charges one offense in




1
  Defendant’s argument is not particularly clear. The FPD reads Defendant’s argument to be that he was sentenced
on count 5 of both the third and fourth superseding indictments and thus that he was convicted of and sentenced for
the same offense twice. Status Report 2. The record shows that Defendant pleaded guilty to and was sentenced for
only count 5 of the fourth superseding indictment, see Am. Judgment 1, so any such argument would be meritless.
The Court, however, reads Defendant’s argument to be that he was charged with the same crime two times in the
same indictment, and one was dismissed while he was convicted on the other. See Mot. Dismiss 1 (“[T]he
government super[s]eded me twice for the same charged indictment and dis[]missed the charge and convicted me at
the same time how is this [s]uppose[d] to [a]ffect the public trust?”); id. (arguing that “both counts are the same,”
referring to counts 5 and 6 of the fourth superseding indictment); id. (suggesting he was charged with one offense
with “[t]wo sep[a]rate dates”). But this is based on a misunderstanding of the charges against Defendant. Count 5
of the fourth superseding indictment charged Defendant with possession with intent to distribute cocaine on
February 28, 2012. Fourth Superseding Indictment 5. Count 6 of the fourth superseding indictment charged him
with possession with intent to distribute cocaine base on May 3, 2012. Id. These are two separate crimes, and it was
proper to charge them separately and for one to be dismissed, see Aug. 21, 2014 Min. Entry; Am. Judgment 1, while
Defendant pleaded guilty to the other.

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multiple counts must be made before trial); United States v. Lockett, 859 F.3d 425, 427–28 (7th

Cir. 2017) (reiterating Griffin’s holding). Thus, the motion to dismiss is DENIED.

   II.        Motions for Sentence Reduction

           Under United States Sentencing Guidelines § 1B1.10(a)(1), a court may reduce a

defendant’s term of imprisonment when the “guideline range applicable to that defendant has

subsequently been lowered as a result of” specified amendments to the Guidelines, including

amendment 782, see id. § 1B1.10(d). Defendant has moved previously for relief under

amendment 782 numerous times and those motions have been denied primarily because his

Guidelines range was determined by the career offender guidelines rather than the drug quantity

guidelines. This has not changed. Moreover, a defendant can only make one motion for a

sentence reduction pursuant to a retroactive amendment to the Sentencing Guidelines. United

States v. Guerrero, 946 F.3d 983, 989–90 (7th Cir. 2020) (noting that a defendant has only “one

bite at the apple per retroactive amendment to the sentencing guidelines” (quotation marks

omitted)). Thus, Defendant’s motions are DENIED.

   III.       Motion for Compassionate Release

          A. Legal Standard

          “[A] judgment of conviction that includes . . . a sentence [of imprisonment] constitutes a

final judgment” that can be modified in only certain enumerated circumstances. 18 U.S.C.

§ 3582(b). As relevant here:

          [a] court, upon motion of the Director of the [BOP], or upon motion of the
          defendant after the defendant has fully exhausted all administrative rights to
          appeal a failure of the [BOP] to bring a motion on the defendant’s behalf or the
          lapse of 30 days from the receipt of such a request by the warden of the
          defendant’s facility, whichever is earlier, may reduce the term of imprisonment
          . . . after considering the factors set forth in section 3553(a) to the extent that they
          are applicable if it finds that . . . extraordinary and compelling reasons warrant
          such a reduction.

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Id. § 3582(c)(1)(A)(i). 2 “[T]he movant bears the burden of establishing extraordinary and

compelling reasons that warrant a sentence reduction.” United States v. Newton, 996 F.3d 485,

488 (7th Cir. 2021) (quotation marks omitted).

         B. Analysis

         In his pro se motion for compassionate release, Defendant argues that his erroneous

designation as a career offender constitutes an extraordinary and compelling reason for release.

This is the same argument that was previously made in the Amended Motion to Reconsider filed

by the FPD which the Court denied on the basis that Defendant had not demonstrated

compliance with the compassionate release statute’s exhaustion requirement. The FPD requests

that the Court consider that argument on the merits now. See Status Report 6.

         Essentially, Defendant argues that he was improperly designated a career offender; that

without the career offender guideline enhancement and with application of amendment 782, his

Sentencing Guidelines custody range would have been 188 to 235 months; and that the Court can

consider his “incorrect sentencing guidelines range as a basis to find that extraordinary and

compelling circumstances exist to grant compassionate release.” Am. Mot. Reconsider 3–4.

         The Court agrees that Defendant should not have been deemed a career offender. But

even if it is proper for the Court to consider a sentencing error an extraordinary and compelling

reason for release, the Court does not find an extraordinary and compelling reason for release

exists in this case.

         A defendant is a career offender if (1) the defendant was at least eighteen years
         old at the time the defendant committed the instant offense of conviction; (2) the

2
  The statute also states that the reduction must be “consistent with applicable policy statements issued by
the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). But the Seventh Circuit has held that there is
currently no applicable policy statement with which a sentence reduction requested by a defendant under
§ 3582(c)(1)(A) must be consistent. See United States v. Gunn, 980 F.3d 1178, 1180–81 (7th Cir. 2020).


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       instant offense of conviction is a felony that is either a crime of violence or a
       controlled substance offense; and (3) the defendant has at least two prior felony
       convictions of either a crime of violence or a controlled substance offense.

United States Sentencing Guidelines § 4B1.1(a).

       The term “two prior felony convictions” means (1) the defendant committed the
       instant offense of conviction subsequent to sustaining at least two felony
       convictions of either a crime of violence or a controlled substance offense . . . ,
       and (2) the sentences for at least two of the aforementioned felony convictions are
       counted separately under the provisions of § 4A1.1(a), (b), or (c).

Id. § 4B1.2(c). For purposes of calculating a defendant’s criminal history points under § 4A1.1,

a court must determine if a defendant’s multiple sentences should be treated separately or as a

single sentence. Id. § 4A1.2(a)(2). “Prior sentences always are counted separately if the

sentences were imposed for offenses that were separated by an intervening arrest (i.e., the

defendant is arrested for the first offense prior to committing the second offense).” Id. “If there

is no intervening arrest, prior sentences are counted separately unless (A) the sentences resulted

from offenses contained in the same charging instrument; or (B) the sentences were imposed on

the same day.” Id.

       Defendant’s two felony convictions were both for delivering less than one gram of

cocaine to another person on July 5, 2000. PSR ¶¶ 50–51. He was not arrested for the first

offense until September 24, 2000, id. ¶ 50, so there was no intervening arrest between these two

convictions. Because he was sentenced on the same day for the two convictions, id. ¶¶ 50–51,

his sentences should not have been considered separate sentences, see United States Sentencing

Guidelines § 4A1.2(a)(2)(B). And because they should not have been considered separate




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sentences, Defendant did not have two prior felony convictions for purposes of the career

offender guidelines. See id. § 4B1.2(c). 3

         Without the career offender enhancement, Defendant’s Guidelines custody range would

have been 235 to 293 months (based on a total offense level of 33 and a criminal history category

of VI). He then could have relied on amendment 782, which would have brought his Guidelines

custody range down to 188 to 235 months (based on a total offense level of 31 and a criminal

history category of VI). But he was sentenced to 180 months of imprisonment, far below what

his Guidelines range originally should have been and below what it would have been with

application of amendment 782. 4 Further, though it appears the parties’ agreement was not

reduced to writing, a review of the relevant transcripts reveals that Defendant pleaded guilty to

one count of the fourth superseding indictment in exchange for dismissal of the remaining

counts; one of the remaining counts charged Defendant with conspiracy to violate 21 U.S.C.

§ 841(b)(1)(A), see Fourth Superseding Indictment 1–2, for which Defendant was facing

mandatory life imprisonment, see 21 U.S.C. § 841(b)(1)(A) (effective Aug. 3, 2010 to Dec. 20,

2018); Am. Not. Prior Convictions, ECF No. 111. He received the benefit of his bargain, so the

Court declines to find that extraordinary and compelling reasons for immediate release or a

sentence reduction exist under these circumstances.




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  Defendant also has two prior aggravated battery convictions, PSR ¶¶ 52, 53, but Defendant, via counsel, represents
that “[t]hese convictions are not career offender predicates as they were charged as ‘insulting or provoking contact’
as opposed to ‘bodily harm,” Am. Mot. Reconsider 3 n.1 (quoting United States v. Lynn, 851 F.3d 786, 798 (7th Cir.
2017)). The Government did not argue otherwise in its response to the Amended Motion to Reconsider. See Resp.
Am. Mot. Reconsider 13, ECF No. 239.
4
  Defendant suggests that he may have also challenged the two enhancements he was given for possession of a
weapon and maintaining drug premises and that “[i]f successfully challenged, his guidelines range would be further
reduced to 130 to 162 months.” Am. Mot. Reconsider 4. But he goes no further to argue that these were in fact
erroneously applied and the Court will not make the arguments for him.

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                                      CONCLUSION

       Accordingly, Defendant Gregory Sanford’s motion to dismiss, ECF No. 241, motions to

reduce his sentence pursuant to amendment 782 to the United States Sentencing Guidelines, ECF

Nos. 242, 245, and motion for compassionate release, ECF No. 243, are DENIED.

       Entered this 2nd day of December, 2021.

                                                            s/ Sara Darrow
                                                           SARA DARROW
                                                 CHIEF UNITED STATES DISTRICT JUDGE




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